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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

    WSOU INVESTMENTS, LLC D/B/A                   §    CIVIL ACTION 6:20-CV-00487-ADA
    BRAZOS LICENSING AND                          §    CIVIL ACTION 6:20-CV-00488-ADA
    DEVELOPMENT,                                  §    CIVIL ACTION 6:20-CV-00489-ADA
                                                  §    CIVIL ACTION 6:20-CV-00490-ADA
          Plaintiff,                              §    CIVIL ACTION 6:20-CV-00491-ADA
                                                  §    CIVIL ACTION 6:20-CV-00492-ADA
    v.                                            §    CIVIL ACTION 6:20-CV-00493-ADA
                                                  §    CIVIL ACTION 6:20-CV-00494-ADA
    ZTE CORPORATION ET AL,                        §    CIVIL ACTION 6:20-CV-00495-ADA
                                                  §    CIVIL ACTION 6:20-CV-00496-ADA
          Defendant.                              §    CIVIL ACTION 6:20-CV-00497-ADA
                                                  §
                                                  §    PATENT CASE
                                                  §
                                                  §
                                                  §    JURY TRIAL DEMANDED

                                      PROTECTIVE ORDER
WHEREAS, Plaintiff and Defendants, hereafter referred to as “the Parties,” believe that certain

information that is or will be encompassed by discovery demands by the Parties involves the

production or disclosure of trade secrets, confidential business information, or other proprietary

information in this Action 1;

WHEREAS, the Parties seek a protective order limiting disclosure thereof in accordance with Federal

Rule of Civil Procedure 26(c):

THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

1.       Each Party may designate as confidential for protection under this Order, in whole or in part,

         any document, information, or material that constitutes or includes, in whole or in part,

         confidential or proprietary information or trade secrets of the Party or a Third Party to whom

         the Party reasonably believes it owes an obligation of confidentiality with respect to such


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    Action means the Case Nos. 6:20-cv-0487 through 6:20-cv-00497.


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      document, information, or material (“Protected Material”). Protected Material shall be

      designated by the Party producing it by affixing a legend or stamp on such document,

      information, or material as follows: “CONFIDENTIAL,” “CONFIDENTIAL -

      ATTORNEYS’ EYES ONLY,” “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES

      ONLY,” or “CONFIDENTIAL - SOURCE CODE” (“DESIGNATED MATERIAL”). 2

      The appropriate designation shall be placed clearly on each page of the Protected Material

      (except deposition and hearing transcripts) for which such protection is sought. For

      deposition and hearing transcripts, the appropriate designation shall be placed on the cover

      page of the transcript (if not already present on the cover page of the transcript when

      received from the court reporter) by each attorney receiving a copy of the transcript

      after that attorney receives notice of the designation of some or all of that transcript is

      designated as containing Protected Material.

2.    Any document produced before issuance of this Order, including pursuant to the Court’s

      Order Governing Proceedings - Patent Case, with the designation “Confidential” or the like

      shall receive the same treatment as if designated “CONFIDENTIAL” under this order and

      any such documents produced with the designation “Confidential - Outside Attorneys’

      Eyes Only,” or the like shall receive the same treatment as if designated “CONFIDENTIAL

      - OUTSIDE ATTORNEYS’ EYES ONLY” under this Order, unless and until such

      document is re-designated to have a different classification under this Order.

3.    With respect to documents, information, or DESIGNATED MATERIAL (i.e.




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  The term DESIGNATED MATERIAL is used throughout this Protective Order to refer to the
class of materials designated as “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEYS’ EYES
ONLY,” “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL
- SOURCE CODE,” both individually and collectively.


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     “CONFIDENTIAL,”          “CONFIDENTIAL          -    ATTORNEYS’          EYES      ONLY,”

     “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL -

     SOURCE CODE”) subject to the provisions herein and unless otherwise stated, this Order

     governs, without limitation: (a) all documents, electronically stored information, and/or

     things as defined by the Federal Rules of Civil Procedure; (b) all pretrial, hearing or

     deposition testimony, or documents marked as exhibits or for identification in depositions

     and hearings; (c) pretrial pleadings, exhibits to pleadings and other court filings; (d)

     affidavits; and (e) stipulations. All copies, reproductions, extracts, digests, and complete

     or partial summaries prepared from any DESIGNATED MATERIALS shall also be

     considered DESIGNATED MATERIAL and treated as such under this Order.

4.   A   designation   of   Protected   Material    (DESIGNATED        MATERIAL        such   as

     “CONFIDENTIAL,”           “CONFIDENTIAL             -ATTORNEYS’         EYES       ONLY,”

     “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL -

     SOURCE CODE”) may be made at any time. Inadvertent or unintentional production of

     documents, information, or material that has not been designated as DESIGNATED

     MATERIAL shall not be deemed a waiver in whole or in part of a claim for confidential

     treatment.   Any Party that inadvertently or unintentionally produces Protected Material

     without designating it as DESIGNATED MATERIAL may request destruction of that

     Protected Material by notifying the recipient(s) as soon as reasonably possible after the

     producing Party becomes aware of the inadvertent or unintentional disclosure, and

     providing replacement Protected Material that is properly designated. The recipient(s) shall

     then destroy all copies of the inadvertently or unintentionally produced Protected Materials

     and any documents, information, or material derived from or based thereon.




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5.   “CONFIDENTIAL” documents, information, and material may be disclosed only to the

     following persons, except upon receipt of the prior written consent of the designating Party,

     upon order of the Court, or as set forth in paragraph 13 herein:

     (a)    Outside counsel of record in this Action for the Parties.

     (b)    Employees of such counsel assigned to and reasonably necessary to assist such
            counsel in the litigation of this Action.

     (c)    In-house counsel for the Parties who either have responsibility for making decisions
            dealing directly with the litigation of this Action, or who are assisting outside
            counsel in the litigation of this Action.

     (d)    Up to and including three (3) designated representatives of each of the Parties to the
            extent reasonably necessary for the litigation of this Action, except that any Party
            may in good faith request the other Party’s consent to designate one or more
            additional representatives, the other Party shall not unreasonably withhold such
            consent, and the requesting Party may seek leave of Court to designate such
            additional representative(s) if the requesting Party believes the other Party has
            unreasonably withheld such consent.

     (e)    Outside consultants or experts retained for the purpose of this litigation, provided
            that: (1) such consultants or experts are not presently employed by the Parties or
            of an affiliate of a Party hereto for purposes other than this Action; (2) before access
            is given, the consultant or expert has completed the Undertaking attached as
            Appendix A hereto and the same is served upon the producing Party with a current
            curriculum vitae of the consultant or expert at least ten (10) days before access to
            the Protected Material is to be given to that consultant or expert to object to and
            notify the receiving Party in writing that it objects to disclosure of Protected
            Material to the consultant or expert. The Parties agree to promptly confer and use
            good faith to resolve any such objection. If the Parties are unable to resolve any
            objection, the objecting Party may file a motion with the Court within fifteen (15)
            days of receipt of the notice, or within such other time as the Parties may agree,
            seeking a protective order with respect to the proposed disclosure. The objecting
            Party shall have the burden of proving the need for a protective order. No disclosure
            shall occur until all such objections are resolved by agreement or Court order.

     (f)    Independent litigation support services, including persons working for or as court
            reporters, graphics or design services, jury or trial consulting services, and
            photocopy, document imaging, and database services retained by counsel and
            reasonably necessary to assist counsel with the litigation of this Action.

     (g)    The Court and its personnel.




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6.   A Party shall designate documents, information, or material as “CONFIDENTIAL” only

     upon a good faith belief that the documents, information, or material contains confidential

     or proprietary information or trade secrets of the Party or a Third Party to whom the Party

     reasonably believes it owes an obligation of confidentiality with respect to such documents,

     information, or material.

7.   Documents, information, or material produced pursuant to any discovery request in this

     Action, including but not limited to Protected Material designated as DESIGNATED

     MATERIAL, shall be used by the Parties only in the litigation of this Action and shall not

     be used for any other purpose. Any person or entity who obtains access to DESIGNATED

     MATERIAL or the contents thereof pursuant to this Order shall not make any copies,

     duplicates, extracts, summaries, or descriptions of such DESIGNATED MATERIAL or any

     portion thereof except as may be reasonably necessary in the litigation of this Action. Any

     such copies, duplicates, extracts, summaries, or descriptions shall be classified

     DESIGNATED MATERIALS and subject to all of the terms and conditions of this Order.

8.   To the extent a producing Party believes that certain Protected Material qualifying to be

     designated CONFIDENTIAL is so sensitive that its dissemination deserves even further

     limitation, the producing Party may designate such Protected Material “CONFIDENTIAL

     - ATTORNEYS’ EYES ONLY,” or to the extent such Protected Material includes computer

     source code and/or live data (that is, data as it exists residing in a database or databases)

     (“Source Code Material”), the producing Party may designate such Protected Material as

     “CONFIDENTIAL - SOURCE CODE.”

9.   For Protected Material designated CONFIDENTIAL - ATTORNEYS’ EYES ONLY,

     access to, and disclosure of, such Protected Material shall be limited to individuals listed




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      in paragraphs 5(a–c) and (e–g); provided, however, that access by in-house counsel pursuant

      to paragraph 5(c) be limited to in-house counsel who exercise no competitive decision-

      making authority on behalf of the client.

10.   For Protected Material designated CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES

      ONLY, access to, and disclosure of, such Protected Material shall be limited to individuals

      listed in paragraphs 5(a–b) and (e–g); provided, however, that the designating Party shall

      accommodate reasonable requests to provide summary information to in-house counsel

      designated pursuant to paragraph 5(c) who exercise no competitive decision-making

      authority on behalf of the client and reasonably require access to such information.

11.   For Protected Material designated “CONFIDENTIAL - SOURCE CODE” (e.g., “Source

      Code Material”), the following additional restrictions apply:

      (a)    Access to a Party’s Source Code Material shall be provided only on “stand-alone”
             computer(s) (that is, the computer may not be linked to any network, including a
             local area network (“LAN”), an intranet or the Internet). The stand-alone
             computer(s) may be connected to (i) a printer, or (ii) a device capable of
             temporarily storing electronic copies solely for the limited purposes permitted
             pursuant to paragraphs 11(h and k) below. Additionally, except as provided in
             paragraph 11(k) below, the stand-alone computer(s) may only be located at the
             offices of the producing Party’s outside counsel or its vendors.

      (b)    The receiving Party shall make reasonable efforts to restrict its requests for such
             access to the stand-alone computer(s) to normal business hours, which for purposes
             of this paragraph shall be 8:00 a.m. through 6:00 p.m. However, upon reasonable
             notice from the receiving Party, the producing Party shall make reasonable efforts to
             accommodate the receiving Party’s request for access to the stand-alone computer(s)
             outside of normal business hours. The Parties agree to cooperate in good faith such
             that maintaining the producing Party’s Source Code Material at the offices of its
             outside counsel or its vendors shall not unreasonably hinder the receiving Party’s
             ability to efficiently and effectively conduct the prosecution or defense of this
             Action.

      (c)    The producing Party shall provide the receiving Party with information explaining
             how to start, log on to, and operate the stand-alone computer(s) in order to access the
             produced Source Code Material on the stand-alone computer(s).




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       (d)     The producing Party will produce Source Code Material in computer searchable
               format on the stand-alone computer(s) as described above.

       (e)     Access to Source Code Material shall be limited to outside counsel and up to three
               (3) outside consultants or experts 3 (i.e., not existing employees or affiliates of a
               Party or an affiliate of a Party or competitor identified by the Producing Party with
               reasonable specificity) retained for the purpose of this litigation and approved to
               access such Protected Materials pursuant to paragraph 5(e) above. A receiving
               Party may include excerpts of Source Code Material in an exhibit to a pleading,
               expert report, or deposition transcript (collectively, “Source Code Exhibits”),
               provided that the Source Code Exhibits are appropriately marked under this Order,
               restricted to those who are entitled to have access to them as specified herein, and,
               if filed with the Court, filed under seal in accordance with the Court’s rules,
               procedures, and orders.

       (f)     To the extent portions of Source Code Material are quoted in a Source Code
               Exhibit, either (1) the entire Source Code Exhibit will be stamped and treated as
               CONFIDENTIAL - SOURCE CODE or (2) those pages containing quoted Source
               Code Material will be separately stamped and treated as CONFIDENTIAL -
               SOURCE CODE.

       (g)     Except as set forth in paragraph 11(k) below, no electronic copies of Source Code
               Material shall be made without prior written consent of the producing Party, except
               as necessary to create documents that, pursuant to the Court’s rules, procedures,
               and order, must be filed or served electronically.

       (h)     The receiving Party shall be permitted to make a reasonable number of printouts and
               photocopies of Source Code Material, which shall presumptively be a total of ten
               (10), all of which shall be designated and clearly labeled “CONFIDENTIAL -
               SOURCE CODE,” and the receiving Party shall maintain a log of all such files that
               are printed or photocopied.

       (i)     Should such printouts or photocopies be permissibly transferred back to electronic
               media, such media shall be labeled “CONFIDENTIAL - SOURCE CODE” and
               shall continue to be treated as such.

       (j)     If the receiving Party’s outside counsel, consultants, or experts obtain printouts or
               photocopies of Source Code Material, the receiving Party shall ensure that such
               outside counsel, consultants, or experts keep the printouts or photocopies in a

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 For the purposes of this paragraph, an outside consultant or expert is defined to include the outside
consultant’s or expert’s direct reports and other support personnel, such that the disclosure to a
consultant or expert who employs others within his or her firm to help in his or her analysis shall
count as a disclosure to a single consultant or expert, provided that such personnel helping in the
analysis of Source Code Material shall be disclosed pursuant to Paragraph 5(e).


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             secured locked area in the offices of such outside counsel, consultants, or expert.
             The receiving Party may also temporarily keep the printouts or photocopies at: (i) the
             Court for any proceedings(s) relating to the Source Code Material, for the dates
             associated with the proceeding(s); (ii) the sites where any deposition(s) relating to
             the Source Code Material are taken, for the dates associated with the deposition(s);
             and (iii) any intermediate location reasonably necessary to transport the printouts or
             photocopies (e.g., a hotel prior to a Court proceeding or deposition).

      (k)    A producing Party’s Source Code Material may only be transported by the receiving
             Party at the direction of a person authorized under paragraph 11(e) above to another
             person authorized under paragraph 11(e) above, on paper or removable electronic
             media (e.g., a DVD, CD-ROM, or flash memory “stick”) via hand carry, Federal
             Express, or other similarly reliable courier. Source Code Material may not be
             transported or transmitted electronically over a network of any kind, including a
             LAN, an intranet, or the Internet. Source Code Material may only be transported
             electronically for the purpose of Court proceeding(s) or deposition(s) as set forth
             in paragraph 11(j) above and is at all times subject to the transport restrictions set
             forth herein. But, for those purposes only, the Source Code Materials may be loaded
             onto a stand-alone computer.

12.   Any attorney representing a Party, whether in-house or outside counsel, and any person

      associated with a Party and permitted to receive the other Party’s Protected Material that is

      designated CONFIDENTIAL - ATTORNEYS’ EYES ONLY, CONFIDENTIAL -

      OUTSIDE ATTORNEYS’ EYES ONLY, and/or CONFIDENTIAL - SOURCE CODE

      (collectively “HIGHLY SENSITIVE MATERIAL”), who obtains, receives, has access to,

      or otherwise learns, in whole or in part, the other Party’s HIGHLY SENSITIVE

      MATERIAL under this Order shall not prepare, prosecute, supervise, or assist in the

      preparation or prosecution of any patent application pertaining to the field of the invention

      of the patents-in-suit during the pendency of this Action and for one year after its conclusion,

      including any appeals. To ensure compliance with the purpose of this provision, each Party

      shall create an “Ethical Wall” between those persons with access to HIGHLY SENSITIVE

      MATERIAL and any individuals who prepare, prosecute, supervise or assist in the

      preparation or prosecution of any patent application pertaining to the field of invention of




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      the patent-in-suit. Nothing in this Order shall prevent a person with access to HIGHLY

      SENSITIVE MATERIAL from participating in a PTO proceeding, e.g., IPR or PGR,

      except for that person shall not participate—directly or indirectly—in the amendment of

      any claim(s).

13.   Nothing in this Order shall require production of documents, information, or other material

      that a Party contends is protected from disclosure by the attorney-client privilege, the work

      product doctrine, or other privilege, doctrine, or immunity. If documents, information, or

      other material subject to a claim of attorney-client privilege, work product doctrine, or other

      privilege, doctrine, or immunity is inadvertently or unintentionally produced, such

      production shall in no way prejudice or otherwise constitute a waiver of, or estoppel as to,

      any such privilege, doctrine, or immunity. Any Party that inadvertently or unintentionally

      produces documents, information, or other material it reasonably believes are protected

      under the attorney-client privilege, work product doctrine, or other privilege, doctrine, or

      immunity may obtain the return of such documents, information, or other material by

      promptly notifying the recipient(s) and providing a privilege log for the inadvertently or

      unintentionally produced documents, information, or other material.          The recipient(s)

      shall gather and return all copies of such documents, information, or other material to the

      producing Party, except for any pages containing privileged or otherwise protected markings

      by the recipient(s), which pages shall instead be destroyed and certified as such to the

      producing Party.

14.   There shall be no disclosure of any DESIGNATED MATERIAL by any person authorized

      to have access thereto to any person who is not authorized for such access under this Order.

      The Parties are hereby ORDERED to safeguard all such documents, information, and




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      material to protect against disclosure to any unauthorized persons or entities.

15.   Nothing contained herein shall be construed to prejudice any Party’s right to use any

      DESIGNATED MATERIAL in taking testimony at any deposition or hearing provided that

      the DESIGNATED MATERIAL is only disclosed to a person(s) who is: (i) eligible to have

      access to the DESIGNATED MATERIAL by virtue of his or her employment with the

      designating Party; (ii) identified in the DESIGNATED MATERIAL as an author, addressee,

      or copy recipient of such information; (iii) although not identified as an author, addressee,

      or copy recipient of such DESIGNATED MATERIAL, has, in the ordinary course of

      business, seen such DESIGNATED MATERIAL; (iv) a current or former officer, director

      or employee of the producing Party or a current or former officer, director, or employee

      of a company affiliated with the producing Party; (v) counsel for a Party, including outside

      counsel and in-house counsel (subject to paragraph 9 of this Order); (vi) an independent

      contractor, consultant, and/or expert retained for the purpose of this litigation; (vii) court

      reporters and videographers; (viii) the Court; or (ix) other persons entitled hereunder to

      access to DESIGNATED MATERIAL.                  DESIGNATED MATERIAL shall not be

      disclosed to any other persons unless prior authorization is obtained from counsel

      representing the producing Party or from the Court.

16.   Parties may, at the deposition or hearing or within thirty (30) days after receipt of a

      deposition or hearing transcript, designate the deposition or hearing transcript or any portion

      thereof as “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,”

      “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL -

      SOURCE CODE” pursuant to this Order. Access to the deposition or hearing transcript so

      designated shall be limited in accordance with the terms of this Order. Until expiration of




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      the 30-day period, the entire deposition or hearing transcript shall be treated as

      CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY.

17.   Any DESIGNATED MATERIAL that is filed with the Court shall be filed under seal and

      shall remain under seal until further order of the Court. The filing Party shall be responsible

      for informing the Clerk of the Court that the filing should be sealed and for placing the

      legend “FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER” above the

      caption and conspicuously on each page of the filing.      Exhibits to a filing shall conform

      to the labeling requirements set forth in this Order. If a pretrial pleading filed with the

      Court, or an exhibit thereto, discloses or relies on DESIGNATED MATERIAL, such

      confidential portions shall be redacted to the extent necessary and the pleading or exhibit

      filed publicly with the Court.

18.   The Order applies to pretrial discovery. Nothing in this Order shall be deemed to prevent

      the Parties from introducing any DESIGNATED MATERIAL into evidence at the trial of

      this Action, or from using any information contained in DESIGNATED MATERIAL at

      the trial of this Action, subject to any pretrial order issued by this Court.

19.   A Party may request in writing to the other Party that the designation given to any

      DESIGNATED MATERIAL be modified or withdrawn.                   If the designating Party does

      not agree to re-designation within ten (10) days of receipt of the written request, the

      requesting Party may apply to the Court for relief. Upon any such application to the Court,

      the burden shall be on the designating Party to show why its classification is proper. Such

      application shall be treated procedurally as a motion to compel pursuant to Federal Rule

      of Civil Procedure 37, subject to the Rule’s provisions relating to sanctions. In making

      such application, the requirements of the Federal Rules of Civil Procedure and the Local




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      Rules of the Court shall be met. Pending the Court’s determination of the application, the

      designation of the designating Party shall be maintained.

20.   Each outside consultant or expert to whom DESIGNATED MATERIAL is disclosed in

      accordance with the terms of this Order shall be advised by counsel of the terms of this

      Order, shall be informed that they are subject to the terms and conditions of this Order, and

      shall sign an acknowledgment that they have received a copy of, have read, and have

      agreed to be bound by this Order. A copy of the acknowledgment form is attached as

      Appendix A.

21.   To the extent that any discovery is taken of persons who are not Parties to this Action

      (“Third Parties”) and in the event that such Third Parties contend the discovery sought

      involves trade secrets, confidential business information, or other proprietary information,

      then such Third Parties may agree to be bound by this Order.

22.   To the extent that discovery or testimony is taken of Third Parties, the Third Parties may

      designate as “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,”

      or   “CONFIDENTIAL          -   OUTSIDE       ATTORNEYS’         EYES     ONLY,”      and/or

      “CONFIDENTIAL - SOURCE CODE” any documents, information, or other material, in

      whole or in part, produced by such Third Parties. The Third Parties shall have ten (10) days

      after production of such documents, information, or other materials to make such a

      designation.    Until that time period lapses or until such a designation has been made,

      whichever occurs sooner, all documents, information, or other material so produced or given

      shall be treated as “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY” in

      accordance with this Order.

23.   Within thirty (30) days of final termination of this Action, including any appeals, all




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      DESIGNATED MATERIAL, including all copies, duplicates, abstracts, indexes, summaries,

      descriptions, and excerpts or extracts thereof (excluding excerpts or extracts incorporated

      into any privileged memoranda of the Parties), shall at the producing Party’s election either

      be returned to the producing Party or be destroyed.        The receiving Party shall verify the

      return or destruction by affidavit furnished to the producing Party, upon the producing

      Party’s request.

24.   The failure to designate documents, information, or material in accordance with this Order

      and the failure to object to a designation at a given time shall not preclude the filing of a

      motion at a later date seeking to impose such designation or challenging the propriety

      thereof. The entry of this Order and/or the production of documents, information, or

      material hereunder shall in no way constitute a waiver of any objection to the furnishing

      thereof, all such objections being hereby preserved.

25.   Any Party knowing or believing that any other Party is in violation of or intends to violate

      this Order and has raised the question of violation or potential violation with the opposing

      Party and has been unable to resolve the matter by agreement may move the Court for such

      relief as may be appropriate in the circumstances.        Pending disposition of the motion by

      the Court, the Party alleged to be in violation of or intending to violate this Order shall

      discontinue the performance of and/or shall not undertake the further performance of any

      action alleged to constitute a violation of this Order.

26.   Production of DESIGNATED MATERIAL by any Party shall not be deemed a

      publication of the documents, information, or material (or the contents thereof) produced

      so as to void or make voidable whatever claim the Parties may have as to the proprietary and

      confidential nature of the documents, information, or other material or its contents.




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27.   Nothing in this Order shall be construed to effect an abrogation, waiver, or limitation of any

      kind on the rights of each of the Parties to assert any applicable discovery or trial privilege.

28.   Each of the Parties shall also retain the right to file a motion with the Court (a) to modify this

      Order to allow disclosure of DESIGNATED MATERIAL to additional persons or entities

      if reasonably necessary to prepare and present this Action; and (b) to apply for additional

      protection of DESIGNATED MATERIAL.


      Signed on June 1st, 2021.




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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

 WSOU INVESTMENTS, LLC D/B/A                   §    CIVIL ACTION 6:20-CV-00487-ADA
 BRAZOS LICENSING AND                          §    CIVIL ACTION 6:20-CV-00488-ADA
 DEVELOPMENT,                                  §    CIVIL ACTION 6:20-CV-00489-ADA
                                               §    CIVIL ACTION 6:20-CV-00490-ADA
       Plaintiff,                              §    CIVIL ACTION 6:20-CV-00491-ADA
                                               §    CIVIL ACTION 6:20-CV-00492-ADA
 v.                                            §    CIVIL ACTION 6:20-CV-00493-ADA
                                               §    CIVIL ACTION 6:20-CV-00494-ADA
 ZTE CORPORATION ET AL,                        §    CIVIL ACTION 6:20-CV-00495-ADA
                                               §    CIVIL ACTION 6:20-CV-00496-ADA
       Defendant.                              §    CIVIL ACTION 6:20-CV-00497-ADA
                                               §
                                               §    PATENT CASE
                                               §
                                               §
                                               §    JURY TRIAL DEMANDED


                            APPENDIX A
         UNDERTAKING OF EXPERTS OR CONSULTANTS REGARDING
                        PROTECTIVE ORDER
I, ___________________________________________, declare that:

1.    My address is _________________________________________________________.

      My current employer is _________________________________________________.

      My current occupation is ________________________________________________.

2.    I have received a copy of the Protective Order in this action. I have carefully read and

      understand the provisions of the Protective Order.

3.    I will comply with all of the provisions of the Protective Order. I will hold in confidence,

      will not disclose to anyone not qualified under the Protective Order, and will use only for

      purposes      of this   action   any   information   designated   as   “CONFIDENTIAL,”

      “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,” “CONFIDENTIAL - OUTSIDE

      ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL - SOURCE CODE” that is


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       disclosed to me.

4.     Promptly upon termination of these actions, I will return all documents and things

       designated as “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,”

       “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL -

       SOURCE CODE” that came into my possession, and all documents and things that I have

       prepared relating thereto, to the outside counsel for the Party by whom I am employed.

5.     I hereby submit to the jurisdiction of this Court for the purpose of enforcement of the

       Protective Order in this action.

I declare under penalty of perjury that the foregoing is true and correct.

Signature ________________________________________

Date ______________________________




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